                    IN THE DISTRICT COURT OF THE UNITED STATES
                   FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                                CHARLOTTE DIVISION
                                     3:04cr250


UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                    ORDER
                                         )
TRACY LYNN PETTY (5)                     )
________________________________________ )




       THIS MATTER is before the Court upon motion of counsel for the defendant asking that

he be allowed to withdraw from further representation of the defendant. (Doc. No. 356). The

defendant, pro se, has also filed a letter motions for counsel inquiry (Doc. No. 357) and to

withdraw her guilty plea (Doc. No. 367).

       Counsel for the defendant informs the Court that a grievance has been filed against him on

behalf of the defendant with the Mecklenburg County Bar Association. Counsel believes the

grievance creates a personal conflict of interest with his client that prevents further representation.

Thus, the Court finds that the circumstances alleged in the instant motion establish total lack of

communication which prevents an adequate defense. United States v. Mullen, 32 F.3d 891 (4th

Cir. 1994).

       IT IS, THEREFORE, ORDERED that the motion of counsel for the defendant (Doc.

No. 356) is GRANTED and the Community Defender shall designate new counsel promptly.

The defendant’s letter motion for counsel inquiry (Doc. No. 357) is DENIED as moot and her

motion to withdraw her guilty plea (Doc. No. 367) is DENIED without prejudice to be re-filed by




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new counsel if deemed appropriate.

       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, the Community Defender, and to the United States Attorney.



                                                   Signed: January 13, 2006




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